
In re Rudolph F. Taddonio, Jr., applying for reconsideration to the Court of Appeal, Fourth Circuit, Parish of Orleans. Civil District Court, No. 80-7502. 422 So.2d 1282 and 429 So.2d 442.
Rehearing Granted. Earlier action of this Court is amended to read as follows:
Writ Granted. The ruling of the Court of Appeal, 422 So.2d 1282, is set aside only insofar as it reverses the trial court judgment awarding alimony pendente lite and insofar as it remands to the trial court “for the purpose of setting after divorce alimony under La.C.C.Pr. art. 160 pending a final determination of the fault question.” The case is remanded to the Court of Appeal for consolidation with the appeal in the separation suit involving these parties. The hearing and opinion in the consolidated appeal is ordered expedited.
WATSON, and LEMMON, JJ., dissent.
